 Case: 4:20-cv-01186-JAR Doc. #: 37 Filed: 05/03/21 Page: 1 of 4 PageID #: 179




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

                                                 x
                                                 : Case No.: 4:20-cv-1186-JAR
TIMOTHY MILES, on behalf of himself and          :
others similarly situated,                       :
                                                 :
                               Plaintiff,        :
                                                 :
       vs.                                       :
                                                 :
MEDICREDIT, INC.,                                :
                                                 :
                               Defendant.
                                                 :
                                                 x
                          JOINT PROPOSED SCHEDULING PLAN

       COME NOW the parties, by their undersigned counsel, and present their Joint Proposed

Scheduling Plan as follows:

       (a)     The parties agree that Track 3 is appropriate given the complex discovery issues

that may arise due to the class action claims.

       (b)     The deadline for joining additional parties and amending pleadings shall be July

16, 2021.

       (c)     Federal Rule 26(b)(5)(B) shall govern how the parties will handle inadvertently

produced information that is privileged or protected as trial-preparation material

       (d)     The parties shall complete discovery in accordance with the following schedule:

               (i)   Disclosure of information and documents pursuant to Federal Rule 26(a)(1)

                     shall be made by May 14, 2021. Disclosure of any documents to be

                     produced pursuant to Rule 26(a)(1) shall be made seven (7) days after entry

                     by the Court of a protective order governing treatment of confidential

                     information;

                                                 1
  Case: 4:20-cv-01186-JAR Doc. #: 37 Filed: 05/03/21 Page: 2 of 4 PageID #: 180




                (ii)     The parties disagree on whether discovery should be conducted in phases or

                         limited to certain issues, as set forth below:

Plaintiff’s proposal                                  Defendant’s proposal

No bifurcation of discovery                           Bifurcation of discovery, with discovery on

                                                      the viability of the merits of Plaintiff’s

                                                      individual claims to precede class discovery

Plaintiff shall disclose his experts’ identities Discovery on the merits of Plaintiff’s

and reports by October 1, 2021                        individual claims shall be completed by

                                                      November 15, 2021

Plaintiff   shall      present   his   experts   for Dispositive motions regarding Plaintiff’s

deposition by October 29, 2021                        individual claims shall be filed no later than

                                                      January 14, 2022

Defendant shall disclose its experts’ identities After the Court has ruled on any dispositive

and reports by December 3, 2021                       motions, the parties will meet and confer to

                                                      set a schedule governing discovery regarding

                                                      Plaintiff’s class allegations, followed by

                                                      briefing on class certification (to the extent

                                                      necessary)

Defendant shall present its experts for

deposition by January 20, 2022

Any rebuttal expert reports must be disclosed

by February 23, 2022

Plaintiff will file his motion for class


                                                      2
  Case: 4:20-cv-01186-JAR Doc. #: 37 Filed: 05/03/21 Page: 3 of 4 PageID #: 181




certification   by    January      28,     2022;

Defendant’s Opposition shall be due on or

before March 21, 2022. Plaintiff’s Reply

shall be due on or before April 18, 2022

Discovery shall be completed by April 1,

2022

Dispositive motions shall be filed by April

29, 2022

Motions to exclude expert testimony shall be

filed by April 29, 2022



                (iii) The parties agree that the presumptive limit of ten (10) depositions per side

                      and twenty-five (25) interrogatories per party shall apply to this case;

                (iv) This case does not require physical or mental examination of the parties.

        (e)     The parties agree that mediation may be a viable future option once discovery has

                been completed, but respectfully request that the Court refrain from ordering

                mediation at this time;

        (f)     The earliest date by which this case should reasonably be expected ready for trial

                is:

                a. From Plaintiff’s perspective: November 2022

                b. From Defendant’s perspective: May 2023

        (g)     The parties estimate this case will take approximately 3-4 days to try to verdict.




                                                   3
 Case: 4:20-cv-01186-JAR Doc. #: 37 Filed: 05/03/21 Page: 4 of 4 PageID #: 182




Respectfully submitted,

Dated: May 3, 2021                          /s/ Michael L. Greenwald
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                                            Counsel for Defendant



                               CERTIFICATE OF SERVICE

       I certify that on May 3, 2021, the foregoing document was filed with the Court using

CM/ECF, which will send notification of such to all counsel of record.

                                            /s/ Michael L. Greenwald
                                            Michael L. Greenwald




                                               4
